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                Exhibit B
 Case 2:13-cv-00014-JRG-RSP Document 5-2 Filed 05/10/13 Page 2 of 2 PageID #: 90

                               NEUFELD, MARKS & GRAL
                                                     NEK
                                              A PROFESSIONAL CORPORATION

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PAUL S. MARKS
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EVA WONG

ALLEN E. RENNETT, Of Counsel

GABRIELA NEUFELD, Legal Assistant                     April 23, 2013


      VIA FACSIMILE AND U.S. MAIL

     Papool S. Chaudhari
     Reyes Browne Reilley
     5950 Berkshire Lane, Suite 410
     Dallas, Texas 75225

              Re: Complaint entitled Personal Audio, LLC
                                                         v. Ace Broadcasting Network, LLC
     Dear Mr. Chaudhari:

           The summons and complaint in the Person
                                                        al Audio, LLC v. ACE Broadcasting
    LLC matter filed in the United States Eas                                               Network,
                                              tern District of Texas, Case No. 2:13-c
    RSP, have been referred to our office for                                         v-00014 —JRG
                                              handling.
             Please be advised that the post office box
                                                          located at 10061 Riverside Drive, #276,
    Lake, CA 91602, does npt now have, nor                                                            Toluca
                                                 has it ever had, any affiliation with the
    defendant ACE Broadcasting Network,                                                    nam ed
                                                 LLC, a Delaware LLC. A review of the
    Division of Corporations website should                                                  Delaware
                                                provide you with identifying informa
    entity’s agent for service of process for that                                      tion for that
                                                   entity
            Further, please be advised that the und
                                                    ersigned is not authorized to accept serv
   behalf of any party in this action.                                                        ice on

                                                            Sincerely,



                                                            Erin E. Brady
   EEB :eeb
   174576.1
